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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

--------------------------------------------X

UNITED STATES OF AMERICA,

                            Plaintiff,                     13-cv-06326 (TPG)

                       v.                                      ECF CASE

PREVEZON HOLDINGS LTD., et al.,                                 OPINION

                            Defendants.


--------------------------------------------X

       In this civil money-laundering and forfeiture action, non-party Hermitage

Capital Management Limited moves to disqualify defense counsel, John Moscow

and his law firm, BakerHostetler.            Hermitage argues that Moscow's prior

representation of Hermitage precludes his present representation of the Prevezon

defendants in this action.      The Government also filed letters in support of

disqualification. After full briefing on this issue, the court denies Hermitage's

motion because Moscow's representation of Prevezon does not pose a significant

risk of trial taint.

                                         Background

A. The Prior Representation of Hermitage

       From September 2008 to May 2009, John Moscow represented Hermitage

in connection with frauds that occurred in Russia (the "Russian Fraud").
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Hermitage hired Moscow after becoming concerned that it might be implicated

in that fraud. Dkt. 134 at 9; Dkt. 134 at 2, 4; Hr'g Tr. 31:12-15 (Oct. 23, 2014).

      Hermitage worried that proceeds traceable to the Russian Fraud may have

passed through New York, but at no time did Moscow or his firm engage in a

tracing analysis of those proceeds. Dkt. 506 at 4. Ultimately, BakerHostetler

limited its work for Hermitage to two areas. It drafted a petition under 28 U.S.C.

§ 1782 to subpoena foreign documents, Dkt. 134 at 4, and made a proposal to

prosecutors from the Southern District of New York as to why the Government

should investigate the Russian Fraud (the "USAO Proposal"). See, e.g., Hr'g Tr.

29:19-22 (Oct. 23, 2014).       Moscow apparently never issued the § 1782

subpoena. Dkt. 134 at 4; Hr'g Tr. 13:1-2 (Dec. 18, 2015). However, according

to Prevezon, the USAO Proposal helped lead to the instant action between the

U.S. Government and Prevezon, to which Hermitage is not a party.

B. The Present Representation of Prevezon

      Approximately five years after Moscow represented Hermitage, the

Government brought this money-laundering and forfeiture action against

Prevezon. The court approved the Government's request to restrain potentially

forfeitable funds, which remain restrained to this day.             However, the

Government's view was, and still is, that Hermitage was victimized by the

Russian Fraud. Dkt. 510 at 2 & n.2; Dkt. 152 at 6-7.

      When Prevezon sought to engage Moscow as defense counsel in this action,

Baker Hostetler performed a conflicts check, found no actual conflicts of interest,

and informed Hermitage of its potential retention by Prevezon. Dkt. 134 at 5.

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BakerHostetler received no response from Hermitage.       Id.   In October 2013,

Moscow first appeared before this court to defend Prevezon against the

Government's allegations that Prevezon allegedly laundered the proceeds of the

Russian Fraud through New York. See Dkts. 3-5.

      Approximately one year after this case was filed, and without formal

approval to intervene, Hermitage moved to disqualify Moscow as defense counsel.

See Dkt. 124. After a multi-day hearing, the court denied the motion. Dkt. 158.

Hermitage filed a new motion to disqualify on December 15, 2015. Dkt. 487.

The court made an initial finding in favor of disqualification and then withdrew

that finding before asking the movant and parties to fully brief the matter. Hr'g

Tr. 3:2-4:7 (Dec. 28, 2015).

                                  Discussion

A. General Principles

      Disqualifying counsel is a drastic measure that is generally disfavored in

this Circuit. Evans v. Artek Sys. Corp., 715 F.2d 788, 791 (2d Cir. 1983). When

a district court considers a motion to disqualify, it must weigh two important

competing interests: a party's right to choose and retain its preferred counsel,

and the court's need to preserve the integrity of the adversarial process.

Hempstead Video, Inc. v. Inc. Vill. of Valley Stream, 409 F.3d 127, 132 (2d Cir.

2005); Evans, 715 F.2d at 791.

      While the court has an interest in "preserv[ing] the integrity of the

adversary process," Bd. of Educ. of the City of N.Y. v. Nyquist, 590 F.2d 1241,

1246 (2d Cir. 1979), it is not generally interested in policing the ethics rules,

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Universal City Studios v. Reimerdes, 98 F. Supp. 2d 449, 455 (S.D.N.Y. 2000);

Nyquist, 590 F.2d at 1246.       Rather, that role is better left to specialized

professional-disciplinary bodies. Nyquist, 590 F.2d at 1246; Etna Prods. Co. Inc.

v. Tactica Int'l, 234 F. Supp. 2d 442, 445 (S.D.N.Y. 2002).         Consequently,

disqualification is appropriate only where allowing the representation to

continue would pose "a significant risk of trial taint." Glueck v. Jonathan Logan,

Inc., 653 F.2d 746,748 (2d Cir. 1981).

      The Court of Appeals has not directly addressed how the relevant ethics

and conflicts rules apply where a former client has moved to disqualify counsel

from a suit to which that former client is not a party. However, other district

courts have dealt with this scenario, and the legal analysis in those cases does

not differ greatly from the more common disqualification posture in which a party

litigant has moved to disqualify his adversary's counsel. See, e.g., Cole Mech.

Corp. v. Nat'l Grange Mut. Ins. Co., No. 06-cv-2875, 2007 WL 2593000, at *6

(S.D.N.Y. Sept. 7, 2007); Leber Assocs., LLC v. Entm't Grp. Fund, Inc., No. 00-

cv-3759, 2001 WL 1568780, at *6 (S.D.N.Y. Dec. 7, 2001). District courts have

also dealt with an analogous situation where a non-party has moved to intervene

for the purpose of disqualifying a party's counsel. Ritchie v. Gano, No. 07-cv-

7269, 2008 WL 4178152, at *10 & n.5 (S.D.N.Y. Sept. 8, 2008) (collecting cases).

      Cumulatively, the case law suggests that the traditional conflict principles

apply even where a non-party has brought a disqualification motion. This court

has no reason to rule otherwise. But while a non-party may move to disqualify

a party's counsel, the movant's non-party status requires a closer analysis of

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how its interests are affected, and this analysis may tip the balance of equities

when assessing any potential trial taint.

      Lastly, the decision to disqualify is left to the court's sound discretion.

Hull v. Celanese Corp., 513 F.2d 568, 571 (2d Cir. 1975); N.Y. Rules of Prof.

Conduct, Rule 1. 9(a).    The American Bar Association Code of Professional

Responsibility also provides guidance. Evans, 715 F.2d at 791.

B. The Law of Disqualification

      Disqualification cases are generally separated into two categories: cases

involving    concurrent   representation,   and     cases    involving   successive

representation.    Only those rules relating to successive representation are

relevant here, and we apply the law of the Second Circuit accordingly. Skidmore

v. Warburg Dillon Read LLC, No. 99-cv-10525, 2001 WL 504876, at* 2 (S.D.N.Y.

May 11, 2001) ("[I]n a technical sense the only truly binding authority on

disqualification issues is [Second] Circuit precedent, because our authority to

disqualify an attorney stems from the Court's inherent supervisory authority.").

      In cases of successive representation, the court may disqualify an attorney

where "the attorney is at least potentially in a position to use privileged

information concerning the other side through prior representation, . . . thus

giving his present client an unfair advantage."        Nyquist, 590 F.2d at 1246

(citations and footnotes omitted); N.Y. Comp. Codes R. & Regs. tit. 22, § 1200.0.

       Courts employ a multi-factor inquiry to determine if an attorney's earlier

representation conflicts with a current representation.        An attorney may be

disqualified if:

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             (1) the moving party is a former client of the adverse
             party's counsel; (2) there is a substantial relationship
             between the subject matter of the counsel's prior
             representation of the moving party and the issues in the
             present lawsuit; and (3) the attorney whose
             disqualification is sought had access to, or was likely to
             have had access to, the relevant privileged information
             in the course of his prior representation of the client.

Evans, 715 F.2d at 791 (citing Cheng v. GAF Corp., 631 F.2d 1052, 1055-56 (2d

Cir. 1980), vacated on other grounds, 450 U.S. 903 (1981)). The first factor in

Evans is not disputed here.

      The second factor-whether the subjects of the two representations are

substantially similar-involves a fact-intensive inquiry.             See Silver Chrysler

Plymouth, Inc. v. Chrysler Motors Corp., 518 F.2d 751 (2d Cir. 1975).                 Its

purpose is "to prevent any possibility, however slight, that confidential

information acquired from a client during a previous relationship may

subsequently be used to the client's disadvantage."              Brown & Williamson

Tobacco Corp. v. Pataki, 152 F. Supp. 2d 276, 282 (S.D.N.Y. 2001) (quoting Emle

Indus., Inc. v. Patentex, Inc., 478 F.2d 562, 571 (2d Cir. 1973)).

      "A 'substantial relationship' exists where facts pertinent to the problems

underlying    the   prior   representation    are     relevant   to    the   subsequent

representation." Agilent Techs., Inc. v. Micromuse, Inc., No. 04-cv-3090, 2004

WL 2346152, at *10 (S.D.N.Y. Oct.19, 2004) (citation omitted). Speculation that

there is some connection between the two representations is not enough to

warrant disqualification-there must be proof of substantial similarity that is

"patently clear." Decora, 899 F. Supp. at 136 (quoting Gov't of India, 569 F.2d

at 739-40) (additional citations omitted)).
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      Comment 3 to Rule 1.9 of the New York Rules of Professional Conduct

offers useful guidance on the nature of "substantial similarity":

            Matters are 'substantially related' ... if they involve the
            same transaction or legal dispute or if, under the
            circumstances, a reasonable lawyer would conclude
            that there is otherwise a substantial risk that
            confidential factual information that would normally
            have been obtained in the prior representation would
            materially advance the client's position in the
            subsequent matter.

      The Restatement Third of Law Governing Lawyers § 132, comment d(iii)

(2000), is also informative: "The substantial-relationship test ... focus[es] upon

the general features of the matters involved and inferences as to the likelihood

that confidences were imparted by the former client that could be used to adverse

effect in the subsequent representation . . . . When the prior matter involved

litigation, it will be conclusively presumed that the lawyer obtained confidential

information about the issues involved in the litigation." In this context, "issues"

does not mean procedural issues common to litigation of this type but factual

issues about which confidential information concerning the client was likely

acquired. Id.

      The third factor is closely related.   It asks whether the attorney whose

disqualification is sought had access to relevant privileged information. Where

successive representations involve the same or substantially similar matter,

"[t]he Court will assume that during the course of the former representation

confidences were disclosed to the attorney bearing on the subject matter of the

representation. It will not inquire into their nature and extent. Only in this

manner can the lawyer's duty of absolute fidelity be enforced and the spirit of
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the rule relating to privileged communications be maintained." Chinese Auto.

Distribs. of Am. LLC v. Bricklin, No. 07-cv-4113, 2009 WL 47337, at *3 (S.D.N.Y.

Jan. 8, 2009) (quoting T.C. Theatre Corp., 113 F. Supp. at 268-69)).               This

confidence-sharing presumption is rebuttable.         Id. at 133.    In addition, the

presumption does not relieve the movant from having to make some showing

that confidences were shared. See Ritchie, No. 07-cv-7269, 2008 WL 4178152,

at *8. Indeed, the movant must show that the specific, privileged information

was allegedly divulged. See, e.g., My First Shades v. Baby Blanket Suncare, No.

08-cv-4599, 2012 WL 517539, at *7 (E.D.N.Y. Feb. 16, 2012).

      Even after applying the Evans factors, it is crucial to note that "not every

violation of a disciplinary rule will necessarily lead to disqualification."

Hempstead Video, 409 F.3d at 132. Rather, the Second Circuit instructs that

disqualification is appropriate only where continued representation "poses a

significant risk of trial taint."    Glueck, 653 F.2d at 748; see also Hempstead

Video, 409 F.3d at 133. Thus, even if a court finds that the Evans factors are

fulfilled, a court may still deny a disqualification motion where the risk of trial

taint is insubstantial. See, e.g., Tradewinds Airlines, Inc. v. Soros, No. 08-cv-

5901, 2009 WL 1321695, at *5 (S.D.N.Y. May 12, 2009) (finding that, even where

the movant was not a former client, the ultimate question was still whether the

trial would be tainted); Med. Diagnostic Imaging, 542 F. Supp. 2d at 314-15

("[A]lthough the lack of a substantial relationship between [counsel's] prior

representation and the current actions significantly reduces the risk of taint in

this action, the question of taint is the ultimate question the Court must

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answer.") (citing Nyquist, 590 F.2d at 1246; Occidental Hotels Mgmt. B.V. v.

Westbrook Allegro LLC, 440 F. Supp. 2d 303, 309 (S.D.N.Y. 2006)); Leber, No.

00-cv-3759, 2001 WL 1568780, at *7 (S.D.N.Y. Dec. 7, 2001)). Demonstrating a

risk of trial taint is a heavy burden, and one that requires an affirmative showing.

Arista Records LLC v. Lime Grp. LLC, No. 06-cv-5936, 2011 WL 672254, at *5

(S.D.N.Y. Feb. 22, 2011) (citing In re Methyl Tertiary Butyl Ether Prods. Liab.

Litig., 438 F. Supp. 2d 305, 309 (S.D.N.Y. 2006)).

       As discussed, the first of the Evans factors is satisfied because there is no

debate that Moscow formerly represented Hermitage.          The second and third

factors, however, require a more in-depth analysis, as does the ultimate question

of trial taint.

C. Substantial Similarity

       As an initial matter, it is important to clarify what this case is not about.

This case is not about Hermitage, nor is this case centrally focused on the

Russian Fraud. Even if it were, to the court's knowledge, Hermitage was never

the target of a U.S. investigation for the Russian Fraud, let alone an actual

lawsuit. In this way, Moscow did not "switch sides," nor is he now accusing a

former client of the "same crime" that he was "retained to defend against." See

Dkt. 510 at 1, 4.

       Moreover, the Russian Fraud is an ancillary issue in this suit.           The

Government does not allege that Prevezon committed the Russian Fraud.

Rather, the Government has accused Prevezon of laundering proceeds of the

Russian Fraud through the United States.           The Russian Fraud is merely

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background information and Hermitage cannot be held liable as a result of this

lawsuit.

      Not only is the Russian Fraud a side issue in this matter, but Hermitage

is also a mere spectator to this litigation. Hermitage is not a party to this suit

and its rights are not directly at stake. Though Hermitage may be interested in

the outcome of the case and in how its name is used at trial, these concerns do

not warrant the drastic relief they seek.

      The scope and nature of Moscow's work on each representation were also

distinct. The draft§ 1782 subpoena was never issued; Moscow's work on it was

preparatory and minimal. And the court cannot come to any conclusion about

the relationship between the SDNY Proposal and this case because neither the

Government nor Hermitage has provided sufficient information about the SDNY

Proposal. Even if the court assumes that there is some connection between this

case and what was discussed during the meeting, Hermitage has failed to

affirmatively show that it is "patently clear" that the two matters are

substantially similar, as is required in this Circuit. See Decora, 899 F. Supp. at

136 (quoting Gov't of India, 569 F.2d at 739-40) (additional citations omitted)).

D. Client Confidences

      The court has concluded that the representations are not substantially

similar, and so the court does not presume that Moscow has shared Hermitage's

confidences as part of his defense of Prevezon. See Chinese Auto. Distribs. of

Am. LLC v. Bricklin, No. 07-cv-4113, 2009 WL 47337, at *3 (S.D.N.Y. Jan. 8,

2009) (quoting T.C. Theatre Corp., 113 F. Supp. at 268-69)). The presumption

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is likewise unwarranted because the pnor representation did not involve

"litigation." See Restatement (Third) Law Governing Lawyers § 132 cmt. d(iii).

Even still, Hermitage's own briefing suggests that its main fear concerns the

fallout from the litigation between the Government and Prevezon, and not that

Moscow will air Hermitage's confidences.          Moreover, Hermitage has not

concretely shown that any of its confidences had anything to do with how, why,

or when Prevezon allegedly laundered Russian Fraud proceeds into the United

States, or how its confidences would be relevant in the case against Prevezon, in

which the Russian Fraud is mere background.

      It is of course possible that Moscow gained some knowledge about

Hermitage's potential strategy if it were accused of the Russian fraud.          See

Restatement (Third) Law Governing Lawyers § 132 cmt. d(iii). But this type of

knowledge is irrelevant here, where Hermitage is not a party.

E. Risk of Trial Taint

      Risk of trial taint is the touchstone of the disqualification decision. The

Second Circuit has said that taint may arise when an attorney could or in fact

does use a client's privileged information against that client.    See Hempstead

Video, 409 F.3d at 133. This is where Hermitage's status as a non-party movant

comes crucially into play. Hermitage's concerns do not lead toward a substantial

risk of taint to this trial.    Rather, Hermitage is concerned that it will face

disciplinary or legal action in Russia by Russian officials based on evidence given

or comments made at these U.S.-based proceedings. That has nothing to do

with potential taint to this trial.

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        The threat of a     Russian lawsuit against Hermitage, though not

unreasonable, is still speculative. The court must have clear reason to grant a

motion for disqualification, and the mere possibility of a Russian lawsuit does

not provide a reason to deprive Prevezon of its counsel of choice. See Hempstead

Video, 409 F.3d at 132. And while Hermitage provides some factual support for

the possibility that a suit could be brought against it, it offers no legal support

for its position that threatened legal action against a non-party in another

country should impact this court's calculus in such a drastic manner as to

compel disqualification here.

        The court also notes that Hermitage has not directly suggested that it

shared client confidences with Moscow that could taint the trial. While the court

is cautious of placing too heavy a burden on movants to prove affirmatively that

relevant privileged information was shared, some showing must be made. See

Bricklin, No. 07 -cv-4113, 2009 WL 47337, at *3 (quoting T.C. Theatre Corp., 113

F. Supp. at 268-69)); Ritchie, No. 07-cv-7269, 2008 WL 4178152, at *8; My First

Shades, No. 08-cv-4599, 2012 WL 517539, at *7. Hermitage has not done so

here.

F. Competing Concerns

        As outlined above, if the court denies the disqualification motion, the risk

of trial taint would be speculative at best. Should the court grant the motion,

however, the harm to Prevezon is both certain and grave. Prevezon would have

to retain new counsel and bring them up to date on this lengthy, complex

litigation. This would mean added expense and additional trial adjournments.

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It would further defer Prevezon's right to its day in court and lengthen the time

that Prevezon's funds remain under pre-trial restraint.         But perhaps most

importantly, disqualification would mean depriving Prevezon of its right to the

counsel of its choice. See Hempstead Video, 409 F. 3d at 132. While this right

is not absolute, it imposes a high burden on the party seeking disqualification.

The balance of the relevant factors tips toward denying the motion to disqualify.

                                  Conclusion

      For the foregoing reasons, non-party Hermitage's motion to disqualify

John Moscow and BakerHostetler is denied.



SO ORDERED.

Dated: New York, New York
       January 8, 2016


                                            Thomas P. Gries a
                                            U.S. District Judge




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